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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0851V
                                   Filed: November 16, 2018
                                        UNPUBLISHED


    JEFFREY LEVINE and TONI ANN
    LEVINE on behalf of A.L., a minor
    child,
                                                             Special Processing Unit (SPU); Joint
                        Petitioners,                         Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Measles Mumps
                                                             Rubella (MMR) Vaccine; Guillain-
    SECRETARY OF HEALTH AND                                  Barre Syndrome (GBS); Annuity
    HUMAN SERVICES,

                       Respondent.


Diana Lynn Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioners.
Gabrielle Manganiello Fielding, U.S. Department of Justice, Washington, DC, for
respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

       On June 23, 2017, petitioners filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioners allege that A.L. suffered Guillain Barre Syndrome (“GBS”) as a result
of an influenza vaccine received on November 2, 2015 and a measles mumps rubella
vaccine received on December 31, 2015. Petition at 1; Stipulation, filed November 15,
2018, at ¶¶ 1-4. Petitioners further allege that the vaccines were administered in the
United States, that A.L. experienced residual effects of this injury for more than six
months, and that there has been no prior award or settlement of a civil action for

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioners have 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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damages on behalf of A.L. as a result of her condition. Petition at 1, 3-4; Stipulation at
¶¶ 3-5. “Respondent denies that the vaccine caused A.L. to suffer from GBS or any
other injury ” Stipulation at ¶ 6.

       Nevertheless, on November 15, 2018, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        An amount sufficient to purchase the annuity contract described in
        paragraph 10 [of the attached stipulation], paid to the life insurance
        company from which the annuity will be purchased (the “Life Insurance
        Company”).

        Stipulation at ¶ 8.

       This amount represents compensation for all items of damages that would be
available under § 15(a). Id.

       The undersigned approves the requested amount for petitioners’ compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
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